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   UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF GEORGIA                                                      APR06 2020
        ATLANTA DIVISION


   RICARDO WILSON,

                  Plaintiff,                             No. 1:18-cv-05014

             V.
                                                         THIRD
                                                         AMENDED
                                                         COMPLAINT
 ROBERT SYLVESTER KELLY, A.K.A. ROBERT
 (R.KELLY) KELLY, P/K A R-KELLY,
 SONY MUSIC ENTERTAINMENT, SONY MUSIC
 PUBLISHING LTD,



                  Defendants,




                                                     x

            THIRD AMENDED COMPlAINT FOR COPYRIGHT INFRTNGEMENT.
    CONSPIRACY TO COMMIT COPYRIGHT INFRINGEMENT. AND CRTMINAL AND
                    CIVIL RACKETEERING (R.I.C.Oi ACT


       COMES NOW, Plaintiff Ricardo Wilson and files this Third Amended Complaint for

Copyright Infringement, Conspiracy to commit copyright infringement, and Criminal and Civil

Racketeering (R.1.C.O) Act claims against the Defendants Robert Sylvester Kelly p/k/a R. Kelly and

Sony Music Entertainment and Sony Music Publishing, LTD, collectively referred to as Sony Music

Entertainment, as parent company for Defendants Sony Music Publishing LTD, Sony Music

Entertainment, RCA Records and Jive Records, and restates each and every allegation contained in
Plaintiffs original Complaint, and all Exhibits attached thereto and incorporated herein, Plaintiffs

Reply, Plaintiffs Motion for Entry of Default, all of which are incorporated herein by reference as if

included herein in their entirety.

                                            INTRODUCTION

            1.     This is an action for willful copyright infringement by the owners of the rights to

   the song “LOVE LETTER,” a song written and produced by Plaintiff as songwriter Ricardo

   Wilson and registered with the United States Copyright Office. Defendants Robert Sylvester

   “R-Kelly” Kelly, the credited and purported writer of the hit song “Love Letter” along with

   Sony Music Entertainment, as distributor and label, and the other defendants, copied and

   exploited, without authorization or credit, the “Love Letter” composition.

            2.     This case is brought by Ricardo Wilson, the owner and songwriter based

   in Atlanta, Georgia

            3.     Plaintiff brings this action for Defendants’ infringement of the copyright in the

   composition of “Love Letter,” and for all damages arising from that infringement, based on

   100% of the ownership of that composition, including 100% of the publishers’ share and the

   writers’ share of those rights.

            4.     “Love Letter” was written and produced by Plaintiff in 2009, registered via poor

   man’s copyright in 2009 and with the United States Copyright Office filed in 2010 and

   registered in 2011.

       5.          Defendant Robert Sylvester Kelly copied various elements of “Love Letter,”

including but not limited to the arrangement, melody, rhythms, harmonies, drums, bass line,

backing chorus, substance, tempo, syncopation and looping which the Plaintiff disclosed to the

Defendant Kelly in a cadence in 2009 on a call that was joined by Tom Tom and Renaldo “Roc”

Parker, Kelly’s then manager and later repeatedly confirmed in conversations with Tom Tom, as
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representative for Defendant Kelly and with and on behalf of Defendant Robert Kelly over a period

of time spanning from 2009 to 2018. Plaintiff brings this action for copyright infringement under

17 U.S.C.~1 01, 501 et seq., arising from the Defendants’ unauthorized reproduction, distribution

and/or public performance of the infringing composition.

                                                JURISDICTION


           6.      The Court has subject matter jurisdiction under 28 U.S.C.    §   1338(a) because this

   action arises under the copyright Act of 1976, 17 U.S.C.   §   101, et. seq. Federal Courts have

   exclusive jurisdiction over such claims pursuant to 28 U.S.C.    §   1331.

           7.      This Court has personal jurisdiction over the enumerated Defendants because they

   have directed their activities and marketing of the infringing works to Georgia residents, and

   Georgia residents are able to purchase, download, and stream the infringing compositions and

   recordings.

           8.      Defendants have engaged in systematic and continuous business activities relating

   to the Infringing Works. As such, the Defendants have engaged in continuing business activities

   in the instant jurisdiction.

           9.      The instant Defendants are, at a minimum, constructively aware of their

   continuous and substantial commercial interactions with Georgia residents.

           10.     Defendant Robert Kelly has performed, and he and the other Defendants

   have authorized, organized, and promoted performances of the infringing work numerous

   times in Georgia.

           11.     The Defendants have generated touring and recording revenues from the

   unauthorized and unlawful exploitation of the infringing work, including receiving substantial

   revenue from such exploitation in Georgia. They have advertised the Infringing Works to Georgia

   residents.

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           12.   The Defendants, individually and collectively, have generated substantial revenue

from the exploitation of the infringing works in Georgia.

           13.   Georgia has a considerable interest in adjudicating disputes wherein Georgia

residents are the target of the harm resulting from exploitation of the infringing work.

           14.   Although some of the defendants are primarily based outside of Georgia, they

facilitated the infringing acts occurring in the U.S. and actively participated in a scheme aiding,

inducing, and contributing to copyright infringement in the U.S. Specifically Robert Sylvester

Kelly is a resident of Illinois but has spent substantial time, including time spent while engaged

in copyright infringement, in Georgia, while working on the album which included “Love

Letter.”

           15.   The Defendants could reasonably have anticipated being sued in a court in the

U.S. in general, and Georgia in particular, given their willful and knowing exploitation of the

infringing work in Georgia.

           16.   Venue is proper in this Judicial District pursuant to 28 U.S.C §1 391(b), §1391(c),

and § 1400(a), respectively, because Defendants maintain offices in and are subject to personal

jurisdiction in this Judicial District and have committed unlawful acts of infringement in this

Judicial District.

                                              PARTIES

           17.   The Plaintiff is the legal owner of the copyrights or the beneficial owner of the

copyright and is entitled to the proceeds of exploitation of the copyright of the copyrights to the

song and lyrics and musical composition copyrights of the musical composition entitled “Love

Letter” and is an individual residing in the State of Georgia. Plaintiff is engaged, among other

things, in conducting the business of song writing, music publishing and otherwise

commercially exploiting the musical composition copyrights of the music including the work

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entitled “Love Letter’.

         18.     Upon reasonable information and belief, Defendant Robert Kelly is a musician,

singer, songwriter, and producer living in Illinois, who does business in Georgia and throughout

each state of the US, both individually, and under its distributor and label Sony Music

Entertainment. Robert Kelly is an accomplished Artist and performer and Grammy Award

winning Artist. He has numerous other awards and Robert Kelly conducts systematic and

continuous business in Georgia including, but not limited to, public performances, and selling

albums and merchandise to the citizens of Georgia. The Defendant, Robert Kelly claimed he

produced and performed the Infringing Work and later released, distributed, and publicly

performed the infringing work and sound recording and/or authorized its reproduction,

distribution and public performance.

         19.     Upon reasonable information and belief, Defendant Sony Music Entertainment is

an American company with its principal place of business at New York, New York. Upon

information and belief Sony Music Entertainment approves, organizes, supports, advertises and

or negotiates Defendant Robert Kelly’s touring arrangements. Jive Records was at all relevant

times solely owned by Sony Music Entertainment. Upon information and belief, Sony Music

Entertainment has arranged for the performance of the Infringing Works numerous times in

Georgia and throughout the United States and abroad and throughout the World. Upon

information and belief, Sony Music Entertainment conducts systematic and continuous business

in Georgia. It has generated substantial revenue from the exploitation of the Infringing Works in

Georgia, including but not limited to public performance of “Love Letter.” Upon further

information and belief, Sony Music Entertainment entered into contracts with other defendants

which authorized and cause widespread exploitation of the Infringing Works in the United States and

specifically in Georgia.


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        20.     Upon reasonable information and belief, at all relevant times, Jive

Records, whose Parent Company is Sony Music Entertainment is Robert Kelly’s record

label, based in the state of Illinois.

        21.      Upon reasonable information and belief, Jive Records was Robert Kelly’s

record label, which was at all relevant times owned by Defendant Sony Music Entertainment.

        22.     Upon reasonable information and belief, Jive Records produced the recording

of the offending recording of “Love Letter” and benefited from the exploitation of the

recording in the United States and around the world.

        23.      Upon reasonable information and belief, Sony Music Entertainment is a business

entity headquartered in the United States and regularly doing business in Georgia, through its

affiliate, SONY Music Publishing. It arranged for the distribution of the offending recording of “Love

Letter.” Sony Music Entertainment is responsible for coordinating, among other things, the marketing,

licensing, promotion and sales of the Infringing Works in the United States. Upon information and belief,

Sony conducts systematic and continuous business in this district and has generated substantial revenue

from the exploitation of the Infringing Works.

        24.     Upon reasonable information and belief, SONY Music Publishing, LLC is a

Delaware limited liability corporation with its principal place of business in New York, New

York. Upon reasonable information and belief, Sony is the music publisher for “Love Letter and

administrates “Love Letter.” It has generated substantial revenue from the exploitation of the

Infringing Works. It is in a unique position to have known about and/or participated in the

exploitation of either or both works. Its conflicting position made it impossible for it to correct

the problem.

       25.      Upon reasonable information and belief, Sony Music Entertainment d/b/a

RCA Records is a Delaware corporation with its principal place of business in New


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York. RCA Records, is owned by Sony Music Entertainment Corporation, which also has its

principal place of business in New York. Upon Information and Belief, Sony Music

Entertainment also participated in the exploitation of the Infringing Works. Upon reasonable

information and belief, Jive Records was a business entity headquartered in the United States

that regularly did business in Georgia. It also participated in the infringing activity described.

        26.     Upon reasonable information and belief, Sony Music Entertainment Ltd. (UK) is

a business entity headquartered in the United States and regularly doing business in Georgia. It

also participated in the infringing activity described.


                                               FACTS

        27.     The musical composition, “Love Letter”, (the “Work”) was written by Plaintiff

(“Wilson”) and was copywritten by “poor man’s copyright” in 2009 and later copywritten by the

US Copyright office in 2011. Defendant Robert Kelly became aware of the Work through direct

contact with Renaldo “Roe” Parker while serving time along with Wilson in 2009-2010.

Plaintiff through cadence and articulation not only shared the words of the Works, including at

least 4 bars, the melody and arrangement with Tom Tom during a phone call with he and the

Defendant Kelly in 2009, which was witnessed by several individuals of which the Plaintiff

plans to call to bear witness to said occurrence.
       28.     At such time, Defendant Kelly expressed an interest in the Work and later went

on to record and perform the Work, all the while assuring the Plaintiff that he would be

compensated and credited for his Work. However, in 2010, the Work entitled “Love Letter”

was registered by Kelly without crediting the Plaintiff with the copyright of the Work.

Contrarily, the copyright registration lists only Robert Kelly as the author. The composition was

registered for copyright in 2010 contrary to Plaintiffs sole interest in said copyright of the

Work. Defendant Kelly went on to title his 2010 album “Love Letter” and released said Work also as a

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single in 2011.

        29.       The harmonic, melodic, subject matter, and rhythmic elements of composition

in “Love Letter” have made this song one of the most famous songs in R&B and soul and

popular music history. “Love Letter” has been anthologized by celebrated music producers

and ranked as one of the top greatest breakbeats of all time.

        30.       Defendant, Robert Kelly, professionally known as ‘R Kelly”, is a musical artist

that has experienced long-standing success as an international music star over a decade and in

2010 was coming off of a bad run as a direct result of criminal and sexual assault allegations

that had been levied against him and the song “Love Letter” was acclaimed as a resounding

success and was credited for the Defendant Kelly’s comeback in 2011 and commercial success

and garnered both Defendant Kelly and Defendant Sony Music Entertainment.

        31.       Defendants have willfully infringed on Plaintiff’s copyright to the Work

entitled “Love Letter.” This case seeks damages for Defendants’ willful copyright

infringement.

        32.       The two songs share a distinctive combination of musical materials, designated as

the same arrangement, backing pattern; it is comprised of a coordination of harmony (chord

progression), bass line, and rhythm.


        33.       There are many ways that musicians think and speak about rhythm. In order to

examine the role rhythm plays in the similarity between these two songs, we will turn to a

consideration of “harmonic rhythm.” The term harmonic rhythm refers to the timing of the chord

changes in a song.

       34.        The R Kelly version in “Love Letter” uses a substantially similar substance,

along with chord progression, melody and arrangement, which collectively makes the two


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versions unquietly similar. In addition, the bass line used is essentially similar to the bass line

in “Love Letter,” even if a different key is used.

        35.    The combination of the shared chord progression, the shared bass line and shared

harmonic rhythm confirm the fact that “Love Letter” infringes on the Copyright of”Love Letter”

by Plaintiff which was filed in 2009 and registered in 2011.

        36.    Plaintiffs “Love Letter” uses the identical harmonic rhythm as found in Kelly’s

“Love Letter,” and this is shown in Plaintiffs First Complaint which incorporated Plaintiff’s

2009 copyright. It does not require an understanding of standard rhythmic notation to see (and

hear) that this rhythm is identical between the two songs as well as the subject matter.

        37.    In comparing the melodic vocal pitches for the first two phrases of each of the

songs each example is based on a repeated chord progression, supporting variations in the vocal

parts. Although the verse of each song is built upon four hearings of the same progression, the

first two phrases (essentially repeated, with ornamental variation, for phrases three and four) are

sufficient for comparison purposes.


        38.    The striking similarity of the harmony, bass line and rhythm backing patterns of

both songs, along with the use of the backing pattern as a repeated element on which each song

is constructed, demonstrate that Kelly’s “Love Letter” is based on Wilson’s “Love Letter.”

       39.     Holding aside rhythmic similarities for the moment, the two melodies exhibit

many identical elements with pitch alone, all accented in relation to their ornamental

differences.

       40.     Having identified the similarity between the backing pattern in the two songs, we

               will now demonstrate how often this pattern occurs in each composition.

       41.     A comparison of the vocal melody in these two songs shows that there are


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melodic passages in Kelly’s song that are substantially similar to passages in Plaintiffs

recording.

        42.     Both melodies begin on the same chord tone, ascend and then fall in exactly the

same manner. Both melodies are delayed until a second chord appears. They both descend

stepwise in exactly the same way. In both songs, verses are composed of couplets formed of a

repeated line. In both songs, the repeated line itself contains a repeated progression. Each verse,

then, in both songs, contains one progression heard four times, supporting a longer line

performed twice. In both songs, the chorus is also in the identical pattern. In both songs,

contrasting sections lead to stop-time solo singing over climactic chords.

        43.     There are further similarities in rhythm in the two songs, including that the

tempos of the two songs are virtually identical.


        44.     Defendants’ access to Plaintiffs’ work is beyond challenge, as “Love Letter” is a

world-famous composition and recording, and the two works are indeed substantially similar for

purposes of copyright infringement. The additional fact that no other song shares the foregoing

characteristics is strong evidence not of arbitrary convergence or parallel development, but

knowing, willful infringement.


        45.     Revenue derived and/or related to “Love Letter” including but not limited to

record sales, performance tour income, merchandising, synchronization and licensing are in the

millions of dollars.

       46.      The Defendant, Mr. Robert Kelly, has had access to “Love Letter” by virtue of

its wide dissemination. Furthermore, “Love Letter” is available on every major digital retailer

and streaming service including, without limitation, iTunes and Amazon.

       47.     The melodic, harmonic, drums, bass line, backing chorus, tempo and syncopation

                                                   Jo
elements of the “Love Letter” composition are substantially and/or strikingly similar to those

elements of the Plaintiffs “Love Letter” composition. The instant Defendants copied,

reproduced, distributed, and/or publicly performed copyrightable elements of “Love Letter”

specifically, the melody, harmony, drums, bass line, backing chorus, tempo and syncopation of

“Love Letter”, without authorization. The two Works in question are therefore substantially

similar.

           48.   To date, each of the Defendants reproduced, distributed, publicly performed,

and/or authorized the reproduction, distribution, and public performance of the infringing

composition and sound recording “Love Letter” and each of the Defendants continues to infringe

on Plaintiff’s copyrighted Work entitled “Love Letter”.

           49.   The Defendants were notified of the infringement on or about November 2018, by

electronic mail or telephone (the ‘Notice’). Despite receiving the Notice, the Defendants

continued to exploit “Love Letter” without permission, by using the melodic, harmonic, drums,

bass line, backing chorus, tempo and syncopation elements copied from “Love Letter”

composition, which constitutes copyright infringement.

           50.   Despite the Notice, all of the Defendants have continued to infringe Plaintiffs’

copyrighted work. The infringement by the Defendants is willful, as evidenced by their

continuing to infringe “Love Letter” after the Notice was provided to them.

       51.       The Defendants knowingly and intentionally infringed Plaintiffs’ rights. The

Defendants’ collective knowledge and intent are established by, among other things, the fact that

Defendants to this day have neither sought, nor obtained, a license from the owners of the rights.

All conditions precedent to the maintenance and/or establishment of the instant action have been

satisfied and/or, otherwise, waived by the Defendants.

       52.       Defendants’ have a pattern and practice of taking the works of unsigned writers

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and exploiting said works by registering said works as their own original works and not

crediting and or compensating the rightful, original owners of said Works. Said pattern amounts

to conspiracy copyright infringement as well as civil and or criminal racketeering (R.I.C.O)

violations the facts of which will be supported by witness and other evidence to be proven at

trial.

         53.   The Defendants’ reproduction, distribution, and public performances of the

infringing work, “Love Letter” in the United States and internationally, continue to this day, and

Defendants have not deigned to compensate Wilson, as the rightful copyright owner of the Work

for the use of the copyrighted work in “Love Letter”.

         54.   The Defendants’ reproduction, distribution, public performance, streaming,

concerts, merchandizing, synchronization, licensing and economic exploitation of “Love Letter”,

and authorizing others to do the same, infringes Plaintiffs’ exclusive rights under the Copyright

Act.

         55.   The conduct of the Defendants is knowing and willful.

         56.   As a direct and/or proximate result of the Defendants ‘wrongful conduct, the

Plaintiff has been irreparably harmed, suffered damage, and Defendants have profited in an

amount in the amount of millions of dollars and to be determined at trial.

         57.   The Defendant, Sony Music Entertainment, as parent company for Jive Records,

RCA Records and on its own behalf, have infringed on Plaintiffs’ exclusive copyright in “Love

Letter” when it distributed and sold sound recordings, including compact discs, phonorecords,

digital downloads, licenses, streaming, ringtones, ringbacks, and all other economic exploitation

and video recordings, embodying “Love Letter”.

         58.   Such reproduction and release was to be licensed by the Defendants from the

Plaintiff by Kelly based on Kelly and Kelly’s manager’s repeated representations from 2010

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   through 2018. Under said assurances, Defendant Kelly made clear to the Plaintiff that the

   Plaintiff was to be compensated and credited for his work, instead Kelly along with Defendant

   Sony Music Entertainment and its representatives sought to exclude Plaintiff from any credit

   and or compensation from the Work. Hence, Defendants never obtained the proper license from

   the Plaintiff, therefore sought to exploit and did release the work without any license or consent

   of authority from the Plaintiff. By virtue of this unauthorized commercial exploitation,

   Defendant Kelly and Defendant Sony Music Entertainment have realized illegal revenues.

           59.     The Defendants infringed Plaintiff exclusive copyright in “Love Letter” when

   they issued and/or authorized others to issue licenses to third parties for the use, publication,

   and exploitation of “Love Letter”. Said licenses were issued without any consent or authority

   from Plaintiff, as the rightful copyright owner of “Love Letter,” from which “Love Letter” was

   substantially copied. By virtue of this unauthorized commercial exploitation, Defendants have

   realized illegal revenues.

           60.     As a direct and/or proximate result of the Defendants’ infringement on Plaintiffs’

   exclusive copyright in “Love Letter”, Plaintiffs have suffered damages. Said injuries are

continuing and will not abate in the future.

           61.     Pursuant to 17 U.S.C.   § 504(c), the Plaintiff is entitled to statutory damages
   since the infringement occurred after the copyrights were registered.

                                      FIRST CAUSE OF ACTION

                     (Willful Cnnvright Infrinifement —17 U.S.C. 8 101. et sea.~

           62.    The Plaintiffs repeat and reallege each of the foregoing Paragraphs as though fully

   set forth herein, as well as all facts alleged in Plaintiff’s original Complaint along with all

   attached Exhibits, which are incorporated therein and filed with the Court on October 3l~, 2018.

   Plaintiffs Reply filed on May 29th, 2019 and Plaintiffs Motion for Entry of Default filed on

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May 22nd 2019.

        63.     The Defendants reproduction, distribution, and public performances of the

infringing work, “Love Letter” in the United States and internationally, continue to this day, and

Defendants have not deigned to compensate the copyright owners of the Work for the use of the

copyrighted work in “Love Letter”.

        64.     The Defendants’ reproduction, distribution, public performance, streaming,

concerts, merchandizing, synchronization, licensing and economic exploitation of “Love Letter”,

and authorizing others to do the same, infringes Plaintiffs’ exclusive rights under the Copyright

Act.

        65.    The conduct of the Defendants is knowing and willful.

        66.    As a direct and/or proximate result of the Defendants ‘ wrongful conduct, the

Plaintiffs have been irreparably harmed, suffered damage, and Defendants have profited in an

amount in the amount of hundreds of millions of dollars and to be determined at trial.

        67.    The Defendant, Sony Music Entertainment, infringed on Plaintiffs’ exclusive

copyright in “Love Letter” when it distributed and sold sound recordings, including compact

discs, phonorecords, digital downloads, licenses, streaming, ringtones, ringbacks, and all other

economic exploitation and video recordings, embodying Love Letter”. Such reproduction and

release was wholly unauthorized, as it was without any license or consent of authority from the

Plaintiff. By virtue of this unauthorized commercial exploitation, Defendant Sony Music

Entertainment have realized illegal revenues.

       68.     The Defendants infringed Plaintiff Wilson’s exclusive copyright in “Love

Letter” when they issued and/or authorized others to issue licenses to third parties for the use,

publication, and exploitation of “Love Letter”. Said licenses were issued without any consent

or authority from the copyright owner of “Love Letter,” from which “Love Letter” was

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substantially copied. By virtue of this unauthorized commercial exploitation, Defendants have

realized illegal revenues.

        69.      Sony was not a proper licensee who had been granted a license from R. Kelly,

who is not listed on Plaintiffs copyright certificate as an author, and/or his publishing

company to distribute [the Song]   —   stating in the Second Amended Complaint the following:

(1) “Kelly recorded and released ‘Love Letter’    .   .   .   without permission”; (2) Kelly put “the

record on an album without having purchased the [S]ong through the proper channels”; and (3)

Kelly’s manager “consistently informed Plaintiff that he would be compensated for the [S]ong,

album title, tour, digital downloads, etc. and everything else derived from the original lyrics

and [S]ong.”

        70.     From 2009 to 2018, Renaldo Roe Parker, manager for Defendant Kelly

continued to reassure Plaintiff that he would be provided credit and compensation from his

work, in fact, Defendant Kelly in furtherance of this understanding between the Plaintiff and

the Defendant Kelly, never registered a PA for the song “Love Letter”, but only registered a

SR of the song which amounted to a CD of the song. It was Plaintiff who had registered in

2009 both the poor man’s copyright and filed with the US Copyright office the PA version of

the same work and it was not until 2018, when the Plaintiff was advised by Defendant Kelly’s

manager that it was not Defendants intention to credit Plaintiff for the work or compensate the

Plaintiff for his work.

        71.     As a direct and/or proximate result of the Defendants’ infringement on Plaintiffs’

exclusive copyright in “Love Letter”, Plaintiffs have suffered damages. Said injuries are

continuing and will not abate in the future.

        72.     Pursuant to 17 U.S.C.   § 504(c), the Plaintiffs are entitled to statutory damages
since the infringement occurred after the copyrights were registered.

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        73.         The Defendant can show elements of the work that are original to establish        —




copying of constituent elements— that (1) the defendant had access to the work and (2) that

the defendant’s work is substantially similar to the Plaintiffs that an average lay observer

would recognize the alleged copy as having been appropriated from the copyrighted work.

        74.         Plaintiff does not, explicitly not implicitly, acknowledge that Sony was a proper

licensee who had been granted a license from R. Kelly, who is not listed on Plaintiff’s

copyright certificate as an author, and/or his publishing company to distribute [the Song]        —




stating in the Second Amended Complaint the following: (1) “Kelly recorded and released

‘Love Letter’   .   .   .   without permission”; (2) Kelly put “the record on an album without having

purchased the [S]ong through the proper channels”; and (3) Kelly’s manager “consistently

informed Plaintiff that he would be compensated for the [S]ong, album title, tour, digital

downloads, etc. and everything else derived from the original lyrics and [S]ong.”

        75.         Plaintiff can show that his copyrighted lyrics are substantially similar to the

Song even though Kelly ‘changed a lot of the words; and as such, Plaintiff has the requisite

information necessary to show copying of constituent elements of the work that are original

for purposes of establishing an infringement claim.

       76.          Plaintiffs claims commenced in 2018—i.e., Plaintiff asserts that he “was

transferred to Pollock, Louisiana’s federal prison before he heard the song ‘Love Letter’ being

broadcasted nationally on the radio” and that upon being released from prison, Kelly’s

manager contacted Wilson multiple times to reassure him that he would be compensated for

the Song but failed to so eventually. Due to Plaintiff’s long period of incarceration, he lacked

the ability to learn and or pursue claims against the Defendants prior to 2018 and was

justifiable in relying on the assurances of Defendant Kelly and his manager that he would be

paid and credited for his work. Any claims that he would perhaps have been able to pursue

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   and or enforce prior to his release in 2018 were judicial equitably tolled due to his inability to

   learn and or pursue claims against the Defendants. Plaintiff timely filed his claims against the

   Defendants’ at the earliest time that he knew and or could have known of his claims against

   the Defendants facts of which shall be easily proven at trial through testimony and evidence of

   communications between Plaintiff and Kelly’s representatives as to their intent to credit and

   compensate the Plaintiff for his Work. Defendant Kelly’s own legal problems were even

   offered as an explanation of the delay in compensation, a fact that Plaintiff was well aware of

   any supported Defendant’s representative’s assertion that delayed payments to him were just a

   part of Defendant Kelly’s ongoing legal issues and not that of an intent to willfully deny the

   Plaintiff his compensation and or credit for his work.

           77.     As a direct and/or proximate result of the Defendants’ infringement on Plaintiffs’

   exclusive copyright in “Love Letter”, Plaintiffs have suffered damages and has timely filed

   these claims to recover said damages from the Defendants. Said injuries are continuing and

   will not abate in the future.


           78.     Pursuant to 17 U.S.C.   § 504(c), the Plaintiffs are entitled to statutory damages
   since the infringement occurred after the copyrights were registered.



                                  Second Cause of Action
                        Conspiracy to commit Copyright Infringement



          79.      In 2019 Sony Music Entertainment revealed the Sound Recording copyright

naming Sony Music Entertainment as the Author, R. Kelly as the writer, and Valerie Felcetto as

the certifying agent. Upon reasonable information and belief Sony Music Entertainment

conspired to seek full ownership of the song and album Love Letter with Robert “R. Kelly”

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Kelly by profiting millions from the song, and excluding Wilson from any earnings produced

from the song participating in contributory copyright infringement, and secondary liability,

while ordering Valerie Felcetto to assist Robert Kelly in excluding Wilson from the negotiation

process, split sheets, songwriting credits, publishing, royalties, and SR copyright. In February

2011, Valerie Felcetto conspired with Kelly and helped certify the SR copyright.

18 U.S.C.   §   2, and 17      U.S.C. §   506 (a) (1) (A)



                                           Third Cause of Action
                               Criminal or Civil Racketeering (R.I.C.Oj Act




                      80. Plaintiff realleges each and every allegation contained herein and states

further as follows:

                      81. Plaintiff shows that in 2011 he obtained a valid copyright;

                      82.    Defendants infringed on said copyright

                      83. Defendants infringement was willfully; and for purposes of commercial
 advantage or private financial gain.

                      84. Defendant’s conspired to infringe on Plaintiffs copyright and did so
 systematically and with arbitrary and reckless disregard for the rights of many writers and said pattern
 or practice did in fact garner the Defendants a commercial advantage and financial gain.

                      85.    Sony Music Entertainment conspired with R Kelly, Renaldo Parker, Torn Torn,

 Valerie Felcetto and others to pirate the song, exclude plaintiff frorn any credits and profits from the

 song and SR copyright certification.

                      86. Said acts are prohibited and said conspiracies to violate the Act as prosecuted
 under ‘8 U.S.C. §    371.


                WHEREFORE, the Plaintiff Wilson respectfully request that judgment be

    entered against the enumerated Defendants, as follows:

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A.   For judgment that Defendants have violated the Copyright Act and that
     all such violations have been willful; and

B.   For judgment assessing Defendants for the damages in excess of Ten
     million dollars ($10,000,000.00) suffered by Plaintiffs, including an
     award of actual damages and Defendants’ profits attributable to the
     infringement, or statutory damages (at Plaintiffs’ election) under the
     Copyright Act, as well as costs and attorney’s fees to the full extent
     provided for by Sections 501, 504 and 505 of the Copyright Act, 17
     U.S.C. §~ 501, 504 and 505; damages and profits shall include all profits
     and damages resulting from exploitation of the work domestically and
     internationally, as well as any and all profits and damages in the
     following categories attributable to the infringement, including but not
     limited to:

     1.      Record sales;
     2.      Downloads;
     3.     Ringtones;
     4.     Ringback tones;
     5.     Public performance revenues;
     6.     Digital revenue;
     7.      Streaming revenue;
     8.      Synchronization licensing;
     9.     Merchandising;
     10.    Public appearances;
     11.    Endorsements;
     12.    Sponsorships;
     13.    Spokesperson work;
     14.    Touring revenue;
     15.    Advertising revenue;
     16.    Appearance fees;
     17.    Name and likeness income and increase in value;
     18.    Rights of publicity income and increase in value;
     19.    Increased value all Defendants’ publishing and/or record company
            and/or companies;
     20.    Increased value of all Defendant’s, including Kelly’s
            Wage’s catalogues;
     21.    Increased value of music publishing and/or record royalties and
            rights;
     22.    Increased value of social media rights, accounts and value;
     23.    Increased goodwill;
     24.    Promotional value;
     25.    Increased value of royalty rate for record deals;
     26.    Increased value in distribution deals, negotiating power and
            reduction in costs;

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                27.     Value of obtaining lower cost of administration fees and/or
                        increased advances for publishing deals;
                28.     Value of obtaining better terms for record company advances and
                        terms and multi-record deals;
                29.     Value of obtaining better terms of publishing and/or recorded
                        master deals for Kelly’s existing catalogue and for future
                        works;
                30.     Increased value in negotiating 360 deals with record companies
                        and/or publishers;
                31.     Sheet music sales and sheet folio income;
                32.     Any and all music publisher income;
                33.     Any and all record master income;
                34.     Any and all record income;
                35.     Any and all Sound Exchange, BMI, ASCAP, PRS, SESAC,
                        PPL, SOCAN, MCPS, Harry Fox Agency, and any and all
                        collection society, mechanical society and performance society
                        income worldwide;
                36.     Any and all producer royalty income;
                37.     Any and all arrangement income;
                38.     Any and all income derived from any existing medium or any
                        medium hereinafter developed worldwide;
                39.     Any and all income from any new collection society and/or
                        collection agency to be created anywhere in the world, including
                        by the U.S. Congress under the Music Modernization Act;
                40.     Any and all income from any society to which any Defendant
                        belongs or joins in the future;
                41.     Any and all income and/or residuals from SAG-AFTRA;
                42.     Any and all income from Apple, iTunes, Amazon, Spotify,
                        Pandora, Rhapsody, and any and all download and streaming
                        services; and
                43.     Any and all of Defendants’ equity interests in Spotify, and any
                        other music streaming or download services or companies in
                        which one or more Defendant has an interest, as it relates to the
                        value from the inclusion of the infringing song in the service; and

        C.      For judgment granting such other, further, and different relief as to the
                Court may seem just and proper.

                               REOUFST FOR TRIAL BY JURY

        Pursuant to Rule 3 8(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury as to all issues triable by jury, as enumerated and set forth in more detail

in this Complaint.


                                                 20
Dated: Atlanta, Georgia
       April 6, 2020




                               478 S. Atlanta St.
                               Roswell, Ga. 30075




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   UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF GEORGIA


   RICARDO WILSON,

                  Plaintiff,

             V.


 ROBERT SYLVESTER KELLY P/K/A R-KELLY,
 SONY MUSIC ENTERTAINMENT, AND SONY
 MUSIC PUBLISHING LTD




                                   CERTIFICATE OF SERVICE

       I, do hereby certify that on this day, I have served the Defendants, via its attorney of record a

true and correct copy of this THIRD AMENDED COMPLAINT via United States Mail with the

correct and proper postage affixed thereon.

                               THIS   6TH   DAY OF APRIL, 2020




Robert S. Kelly #09627-035
METROPOLITAN CORRECTIONAL CENTER
71 West Van Buren St.
Chicago, IL. 60605
312-322-0567

STOKES WAGNER, ALC
One Atlantic Center, Suite 2400
1201 W. Peachtree Street
Atlanta, Ga 30309
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     Roswell, Ga. 30075




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